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                                                                    E-FILED 5/21/19
 1     SEYFARTH SHAW LLP                        BRADLEY/GROMBACHER LLP
       Diana Tabacopoulos (SBN 128238)          Marcus J. Bradley (SBN 174156) JS-6
 2     dtabacopoulos@seyfarth.com               mbradley@bradleygrombacher.com
       David D. Jacobson (SBN 143369)           Kiley Lynn Grombacher (SBN 245960)
 3     djacobson@seyfarth.com                   kgrombacher@bradleygrombacher.com
       2029 Century Park East, Suite 3500       Taylor L. Emerson (SBN 225303)
 4     Los Angeles, California 90067-3021       temerson@bradleygrombacher.com
       Telephone: (310) 277-7200                2815 Townsgate Road, Suite 130
 5     Facsimile: (310) 201-5219                Westlake Village, CA 91361
                                                Telephone: 805-270-7100
 6     SEYFARTH SHAW LLP                        Facsimile: 805-270-7589
       Michael W. Kopp (SBN 206385)
 7     mkopp@seyfarth.com                       LAW OFFICES OF SAHAG MAJARIAN II
       400 Capitol Mall, Suite 2350             Sahag Majarian II
 8     Sacramento, California 95814-4428        sahagii@aol.com
       Telephone: (916) 448-0159                18250 Ventura Blvd.
 9     Facsimile: (916) 558-4839                Tarzana, CA 91356
10     LITTLER MENDELSON, P.C.                  Telephone: (818) 609-0807
       Rod M. Fliegel (SBN 168289)              Facsimile: (818) 609-0892
11     E-mail: rfliegel@littler.com
       Alison S. Hightower (SBN 112429)         Attorneys for Plaintiff
12     E-mail: ahightower@littler.com           SHIRLEY GARCIA
       333 Bush Street, 34th Floor
13     San Francisco, CA 94104
       Telephone: (415) 433-1940
14     Facsimile: (415) 399-8490]
15     Attorneys for Defendant
       GATE GOURMET, INC.
16
17                             UNITED STATES DISTRICT COURT
18                            CENTRAL DISTRICT OF CALIFORNIA
19                                     WESTERN DIVISION
20
21    SHIRLEY GARCIA, an individual, on her         Case No. 2:19-cv-01075-PSG-MAA
      own behalf and on behalf of all others
22    similarly situated,
                                                     [PROPOSED] ORDER GRANTING
23                    Plaintiffs,                    REQUEST FOR DISMISSAL AND
                                                     APPROVAL OF FLSA
24             v.                                    SETTLEMENT
25    GATE GOURMET, INC., a Delaware
      corporation; and DOES 1-100, inclusive,      Complaint Filed: 1-9-2019
26
                      Defendants.
27
28

          [PROPOSED] ORDER GRANTING REQUEST FOR DISMISSAL AND APPROVAL OF FLSA SETTLEMENT
      56063413v.1
     Case 2:19-cv-01075-PSG-MAA Document 17 Filed 05/21/19 Page 2 of 2 Page ID #:151



 1
 2                                              ORDER
 3             IT IS HEREBY ORDERED that case number 2:19-cv-01075-PSG-MAA, and all
 4    causes of action and all parties in the Action set forth in the Complaint and Plaintiff’s
 5    Fair Labor Standards Act claims are dismissed with prejudice. The Rule 23 claims are
 6    dismissed without prejudice.

 7    IT IS SO ORDERED.

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      Dated:          5/20/19
 9                                                     Hon. Philip S. Gutierrez
10                                                     Judge of the United States District Court
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          [PROPOSED] ORDER GRANTING REQUEST FOR DISMISSAL AND APPROVAL OF FLSA SETTLEMENT
      56063413v.1
